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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

U'NITED STATES OF AMERICA

 

V.
Criminal Case No. 02-20448-D

WILLIEANN MADISON and
JOHN E. MADISON,

Defendants.

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ORDER GRANTING APPLICATION FOR LEAVE OF ABSENCE

lt appearing that Tony L. Axam has duly applied for leave
of absence for the dates set forth in the within and foregoing
motion and that opposing counsel has been provided with notice
of said application for leave of absence and it being found that
no objections have been filed;

It is Hereby Ordered that Tony L. Axam be GRANTED a leave
of absence commencing on Monday, 4 July 2005 up to and including
Monday, 8 Angust 2005 and that any and all proceedings involving

applicant be stayed during said period of time.

ThisO-,Zé)_ day 05 ¢h£ g , 2005.

  
  

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Tbe Honorabl Bernic§rDonald h
Ju ge, United States District Conrt

 
 

CC: United States Attorney's Office

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with Hu|e 55 and/or 32{b) FRCrP on

 

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Honorable Bernice Donald
US DISTRICT COURT

